            Case 1:21-cv-00184-JMF Document 9 Filed 01/12/21 Page 1 of 2

                                                                                                    1/12/2021

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
AGUSTIN QUINONES, JR.,                                                  :
                                                                        :
                                    Plaintiff,                          :   ORDER
                                                                        :
                  -v-                                                   :   21-CV-184 (JMF) (JLC)
                                                                        :
UMVLT, LLC, et al.,                                                     :
                                                                        :
                                    Defendants.                         :
------------------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        By Order of Reference dated January 11, 2021 (Dkt. No. 8), Judge Furman

referred this case to me for settlement. The parties are directed to advise the Court

within one week after an answer is filed when they wish to schedule a settlement

conference. The parties should do so by filing a letter-motion on the docket that

indicates at least three dates that are mutually convenient for the parties.

Alternatively, counsel are free to e-mail my deputy clerk, David Tam, at

David_Tam@nysd.uscourts.gov to find a mutually convenient date for the parties

and the Court. In light of the COVID-19 pandemic, any settlement conference in

the foreseeable future will likely be conducted telephonically. Using the Court’s

conference line system, the Court will begin the settlement conference in joint

session with all parties on the line before breaking into private session and




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         Case 1:21-cv-00184-JMF Document 9 Filed 01/12/21 Page 2 of 2




speaking to the parties individually, as the technology the Court is using can

facilitate breakout sessions with each side.

      SO ORDERED.

Dated: January 12, 2021
       New York, New York




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